     Case
  Yuri    2:19-cv-06912-CJC-PLA
       Mikulka                  Document 49 Filed 02/13/20 Page 1 of 5 Page ID #:359
                (State Bar No. 185926)
  Evan W. Woolley(State Bar No. 286385)
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  ALSTON & BIRD LLP
  333 South Hope Street, Sixteenth Floor
  Los Angeles, CA 900071
  Telephone: (213) 576-1000




                                  UNITED STATES DISTRICT COURT
                                 CENTRAL DISTRICT OF CALIFORNIA
                                                                  CASE NUMBER:
  HOMEGOODS, INC.
                                                                        19-06912-CJC-PLA
                                                   Plaintiff(s)
                         v.
 CONSTANTINO A. PAPANICOLAOU AKA DINO
 PAPANICOLAOU, and CAP 2801, LLC DBA                                             WRIT OF EXECUTION
 HOMEGREATS,

                                                Defendant(s)


    TO:        THE UNITED STATES MARSHAL FOR THE CENTRAL DISTRICT OF CALIFORNIA
               You are directed to enforce the Judgment described below with interest and costs as provided by law.


               On December 5, 2019                 a judgment was entered in the above-entitled action in favor of:
               Homegoods, Inc.




               as Judgment Creditor and against:
               Constantino A. Papanicolaou and CAP 2801, LLC




               as Judgment Debtor, for:
                  $                 0.00 Principal,
                  $            58,157.50 Attorney Fees,
                  $                  0.00 Interest **, and
                  $              4,008.01 Costs, making a total amount of
                  $            62,165.51 JUDGMENT AS ENTERED




**NOTE: JUDGMENTS REGISTERED UNDER 28 U.S.C. §1963 BEAR THE RATE OF INTEREST OF THE
        DISTRICT OF ORIGIN AND CALCULATED AS OF THE DATE OF ENTRY IN THAT DISTRICT.

                                                    WRIT OF EXECUTION
CV-23 (6/01)                                                                                                   PAGE 1 OF 3
       Case 2:19-cv-06912-CJC-PLA Document 49 Filed 02/13/20 Page 2 of 5 Page ID #:360


    WHEREAS, according to an affidavit and/or memorandum of costs after judgment it appears that further sums
    have accrued since the entry of judgment in the Central         District of California                  ,
    to wit:

               $                 188.59 accrued interest, and
               $                   0.00 accrued costs, making a total of
               $                 188.59 ACCRUED COSTS AND ACCRUED INTEREST


    Credit must be given for payments and partial satisfaction in the amount of $ 0.00                        which is
    to be credited against the total accrued costs and accrued interest, with any excess credited against the judgment
    as entered, leaving a net balance of:

               $             62,354.10 ACTUALLY DUE on the date of the issuance of this writ of which
               $             62,165.51 Is due on the judgment as entered and bears interest at 1.6
                                       percent per annum, in the amount of $ 2.73                  per day,
                                          from the date of issuance of this writ, to which must be added the
                                          commissions and costs of the officer executing this writ.




                                                                 CLERK, UNITED STATES DISTRICT COURT




    Dated:         February 13, 2020                             By:
                                                                  y:
                                                                                      Deputy Clerk




                                                   WRIT OF EXECUTION
CV-23 (6/01)                                                                                                    PAGE 2 OF 3
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    The following are name(s) and address(es) of the judgment debtor(s) to whom a copy of the Writ of Execution
    must be mailed unless it was served at the time of the levy. This information must be filled in by counsel
    requesting this writ.


     Constantino A. Papanicolaou                               CAP 2801, LLC
     262 West Highland Drive                                   262 West Highland Drive
     Camarillo, CA 93010                                       Camarillo, CA 93010




      Constantino A. Papanicolaou                              CAP 2801, LLC
      3151 West 5th Street, Suite B                            3151 West 5th Street, Suite B
      Oxnard, CA 93030                                         Oxnard, CA 93030




    NOTICE TO THE JUDGMENT DEBTOR
    You may be entitled to file a claim exempting your property from execution. You may seek the advice of an
    attorney or may, within ten (10) days after the date the notice of levy was served, deliver a claim of exemption
    to the levying officer as provided in Sections 703.510 - 703.610 of the California Code of Civil Procedure.

                                                 WRIT OF EXECUTION
CV-23 (6/01)                                                                                                  PAGE 3 OF 3
       Case 2:19-cv-06912-CJC-PLA Document 49 Filed 02/13/20 Page 4 of 5 Page ID #:362


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